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July 13, 2023


BY E-FILE

The Honorable Gregory B. Williams
United States District Court
  for the District of Delaware
844 N. King Street
Wilmington, DE 19801

       Re:      Getty Images (US), Inc. v. Stability AI, Ltd., et al., C.A. No. 23-135 (GBW)

Dear Judge Williams:

The parties in the above-referenced matter write to request the scheduling of a teleconference to
address a discovery dispute.

The following attorneys, including at least one Delaware Counsel and at least one Lead Counsel
per party, participated a verbal meet and confer by teleconference on the issues raised in this letter
on July 12, 2023:

   •   Delaware Counsel for Plaintiffs: Tammy Mercer and Robert Vrana of Young Conaway
       Stargatt & Taylor, LLP

   •   Lead Counsel for Plaintiffs: Jared Friedmann, and Melissa Rutman of Weil, Gotshal &
       Manges LLP

   •   Delaware Counsel for Defendants: Michael Flynn of Morris, Nichols, Arsht & Tunnell
       LLP

   •   Lead Counsel for Defendants: Paul Schoenhard of Fried, Frank, Harris, Shriver & Jacobson
       LLP

In addition, attorneys for each party previously participated in multiple verbal meet and confers
by tele- and/or videoconference on the issues raised in this letter on May 24, June 26, and June 27,
2023.

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As previously reported (D.I. 21), Defendants contend that (i) this Court lacks personal jurisdiction
over Stability AI Ltd.; (ii) Plaintiff has failed to make a prima facie showing that this Court can
exercise personal jurisdiction over Defendant Stability AI Ltd.; and (iii) Defendants should not be
obligated to respond to jurisdictional discovery. Plaintiff, on the other hand, contends that
jurisdictional discovery is necessary and that the law in this Circuit and District freely permit
jurisdictional discovery in similar circumstances. Notwithstanding this disagreement, the parties
engaged in extensive discussion of jurisdictional discovery and provided the Court with a
stipulation providing a schedule within which agreed-upon discovery would be conducted without
waiver of Defendant Stability AI Ltd.’s on-going right to contest personal jurisdiction.

On June 9, 2023, the Court entered the Stipulation and Order Regarding Jurisdictional Discovery
and Motion to Dismiss Briefing (D.I. 21). Since that time, the parties have further conferred,
Defendants have voluntarily provided certain documents and information in response to requests
made by Plaintiff, and Defendants have maintained objections to other requests.

The dispute requiring judicial intervention concerns whether and to what extent Defendant
Stability AI, Inc. and/or Defendant Stability AI Ltd. must further respond to jurisdictional
discovery relating to Defendants’ motion to dismiss or transfer, including for lack of personal
jurisdiction over Stability AI Ltd.

                                                     Respectfully submitted,

                                                     /s/ Robert M. Vrana

                                                     Robert M. Vrana (No. 5666)




cc: All Counsel of Record (via CM/ECF and email)




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